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                                    UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                           LAREDO DIVISION


ADRIAN TELLO and MARY ANN                               §
VASQUEZ TELLO,                                          §
                                                        §
          Plaintiffs,                                   §
                                                        §        CIVIL ACTION NO. 5:15-CV-00057
v.                                                      §
                                                        §
ASI LLOYDS and JACK FIELDER,                            §
                                                        §
          Defendants.                                   §

                           JOINT MOTION TO DISMISS WITH PREJUDICE

          Plaintiffs Adrian Tello and Mary Ann Vasquez Tello (“Plaintiffs”) and Defendants ASI

Lloyds and Jack Fielder (“Defendants”) file this Joint Motion to Dismiss with Prejudice asking

this Court to dismiss all claims each has against the other with prejudice to the refiling of same.

          1.        Plaintiffs filed their Original Petition against Defendants on February 11, 2015.

          2.        Defendants filed their Original Answer and Affirmative Defenses to Plaintiffs’

Original Petition on March 19, 2015 and their Notice of Removal on March 19, 2015.

          3.        Plaintiffs and Defendants have come to an agreement with regard to all claims

made or that could have been made in this lawsuit. Therefore, Plaintiffs and Defendants do not

wish to pursue this matter any further and the Court’s assistance is no longer necessary.

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs and Defendants jointly request

that this matter be dismissed with prejudice, removed from the docket of this Court, and that

costs be taxed against the party incurring same.




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                                         Respectfully submitted,


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                                         - and –

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                                         CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of this Joint Motion to Dismiss with
Prejudice has been served this 7th day of July, 2015, by electronic filing as follows:

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